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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 WAZEE STREET OPPORTUNITIES                         :            CIVIL ACTION
 FUND IV LP, et al.                                 :
            Plaintiffs                              :            NO. 18-3478
                                                    :
                v.                                  :
                                                    :
 THE FEDERAL HOUSING                                :
 FINANCE AGENCY, et al.                             :
           Defendants                               :

                                              ORDER

       AND NOW, this 17th day of June 2024, upon consideration of Plaintiff Wazee Street

Opportunities Fund IV LP’s (“Plaintiff Wazee Street”) unopposed motion for extension of time to

amended complaint, (ECF 52), and for good cause shown, it is hereby ORDERED that Plaintiff

Wazee Street’s motion is GRANTED. Accordingly, Plaintiff Wazee Street has until July 1, 2024,

to either file an amended complaint or voluntarily dismiss this action with prejudice.



                                             BY THE COURT:


                                             /s/ Nitza I. Quiñones Alejandro
                                             NITZA I. QUIÑONES ALEJANDRO
                                             Judge, United States District Court
